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      1   Jordan L. Lurie (SBN 130013)
          Jordan.Lurie@capstonelawyers.com
      2   Tarek H. Zohdy (SBN 247775)
          Tarek.Zohdy@capstonelawyers.com
      3   Cody R. Padgett (SBN 275553)
          Cody.Padgett@capstonelawyers.com
      4   Karen L. Wallace (SBN 272309)
          Karen.Wallace@capstonelawyers.com
      5   Capstone Law APC
          1875 Century Park East, Suite 1000
      6   Los Angeles, California 90067
          Telephone: (310) 556-4811
      7   Facsimile: (310) 943-0396
      8   Attorneys for Plaintiff
      9
                                UNITED STATES DISTRICT COURT
     10
                              CENTRAL DISTRICT OF CALIFORNIA
     11
     12
          WALDO LEYVA, individually, and         Case No. 5:17-cv-01870 FMO (SHKx)
     13   on behalf of a class of similarly
          situated individuals,                  Hon. Judge Fernando M. Olquin
     14
                       Plaintiff,                CLASS ACTION
     15
                v.                               NOTICE OF VOLUNTARY
     16                                          DISMISSAL
          NISSAN NORTH AMERICA, INC.,
     17   a California Corporation,              [Rule 41(a)(1)(A)(i), F.R.Civ.P.]
     18                Defendant.
     19                                          Complaint Filed: September 11, 2017
 




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                                                              CASE NO 5:17-cv-01870 FMO (SHKx)
                                    NOTICE OF VOLUNTARY DISMISSAL
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      1         Pursuant to Rule 41(a)(1)(A)(i), Plaintiff Waldo Leyva, through his
      2   undersigned counsel, hereby dismisses his individual claims without prejudice
      3   pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure and
      4   dismisses any putative class claims without prejudice.
      5         Rule 41(a)(1)(A)(i) provides that the plaintiff may dismiss an action
      6   without a court order before the opposing party serves either an answer or a
      7   motion for summary judgment. Defendant has done neither. Because the
      8   dismissal is without prejudice to Mr. Leyva and the other members of the
      9   putative class, there is no prejudice to absent putative class members.
     10   Accordingly, this matter may be dismissed without prejudice and without an
     11   Order of the Court under Federal Rule of Civil Procedure 41(a)(1)(A)(i). Notice
     12   to the class is not necessary under Federal Rule of Civil Procedure 23(e) because
     13   the Court has not certified a class in this case, and the dismissal does not
     14   prejudice the rights of any members of the putative class. Further, pursuant to a
     15   Joint Stipulation to Permit Amendment to Complaint to Add Plaintiff and Order
     16   thereon entered on April 17, 2018 in a related action pending in the Northern
     17   District of California, Falk v Nissan North America, Case No. 4:17-cv-04871-
     18   HSG, Mr. Leyva will be added as a plaintiff in that action and will be
     19   prosecuting a similar class action there.
 




     20         Accordingly, this matter is dismissed without prejudice.
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     22   Dated: April 20, 2018                Respectfully submitted,
     23                                        CAPSTONE LAW APC
     24
     25                                        By:      /s/ Jordan L. Lurie
                                                      Jordan L. Lurie
     26                                               Tarek H. Zohdy
                                                      Cody R. Padgett
     27                                               Karen L. Wallace
     28                                               Attorneys for Plaintiffs
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                                    NOTICE OF VOLUNTARY DISMISSAL
